Case 2:04-cr-20194-.]DB Document 59 Filed 08/08/05 Page 1 of 6 PagelD 59
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wEsTERN DisTRicT oF TENNEssEE il w.c.
MEMPHls DlvlsioN
uNiTED sTATEs oF AMERch

_v. 04-20194-1-5

 

NlARTlNO MCNEAL
Ed Per[y, FPD
Defense Attorney
200 Jefferson, Suite 200
Memphis, TN 38103

 

JUDGMENT IN A CR|NllNAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Count 1 & 2 of the Superseding indictment on l\/larch 9,
2005. Accordingly, the court has adjudicated that the defendant is guilty of the following
offenses:

Date Count
Title & section NH_W_MDY Offense MB
Concluded
17 U.S.C. § 506(a) and Criminal infringement on Copyrights 04/11/2003 1
18 U.S.C. § 2319(b)(1) and
(C)(‘l)
17 U.S.C. § 506(a) Criminal lnfringement on Copyrights 04/11/2003 2

and 18 u.s.c. § 2319(b)(3j

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996

Counts 3 is dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 9/22/1974 August 08, 2005
Deft’s U.S. l\/larshal No.: 19628-076

Defendant’s Mailing Address:
55 E. Davant
Memphis, TN 38109

 

J. DAN|EL BREEN
NITED STATES DlSTRlCT JUDGE
This documenrenter

, ed Ori the docket . .
with Flule 55 and/er 32(b) FHCrP on §:ISE§‘:(C?OM lianc%UQUSt;Y___, 2005@

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lMPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 22 months as to count 1 and 12 months as to
count 2, to be served concurrently
The Court recommends to the Bureau of Prisons:

- Placement as close to l\/lemphis, Tennessee, as possible

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States |Vlarsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UNlTED STATES MARSHAL
By:

 

Deputy U.S. l\/larshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a total term of 2 years as follows: 2 years as to count 1, and 12 months as to count
2, to be served concurrentlyl

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

VVhi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDITIONS OF SUPERVISION

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Nlonetary Penalties sheet ofthisjudgment.

ADD|TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Defendant to participate in substance abuse testing and treatment programs, as directed by the
Probation Officer.
2) Defendant to cooperate with DNA collection as directed by the Probation Offiver.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 

Total Assessment Total Fine Total Restitution
$125.00

The Special Assessment shall be due immediately

FlNE
No fine imposed

REST|TUTION
No Restitution was ordered.

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UNITED STATES DISTRICT COURT- W"TEES §N DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:04-CR-20194 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
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Ste. 200

Memphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

